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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

------------------------------------------------------------ x
                                                             :
In re:                                                       : Chapter 11
                                                             :
THE CONTAINER STORE GROUP, INC., et al., : Case No. 24-90627 (ARP)
                                                             :
                    Reorganized Debtors. 1                   : (Jointly Administered)
                                                             :
------------------------------------------------------------ x

       NOTICE OF (I) ENTRY OF COMBINED ORDER, (II) OCCURRENCE OF
      EFFECTIVE DATE, AND (III) REJECTION DAMAGES CLAIMS BAR DATE

    PLEASE READ THIS NOTICE CAREFULLY AS IT CONTAINS BAR DATE AND
     OTHER INFORMATION THAT MAY AFFECT YOUR RIGHTS TO RECEIVE
                    DISTRIBUTIONS UNDER THE PLAN:

       On January 24, 2025, the United States Bankruptcy Court for the Southern District of Texas
(the “Court”) entered the Order (I) Approving Debtors’ Disclosure Statement and (II) Confirming
First Amended Prepackaged Joint Plan of Reorganization of The Container Store Group, Inc. and
Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No. 181] (the “Combined
Order”). 2

        Each of the conditions precedent to the occurrence of the Effective Date, as set forth in
Article VIII, has been satisfied or waived in accordance therewith, and the Plan became effective
and was substantially consummated on January 28, 2025 (the “Effective Date”).

        The Plan and its provisions are binding upon, and inure to the benefit of (i) the Reorganized
Debtors, (ii) all Holders of Claims and Interests, (iii) other parties-in-interest, and (iv) their
respective heirs, executors, administrators, successors, and assigns.

      All final requests for payment of Professional Fee Claims, including Professional Fee
Claims incurred during the period from the Petition Date through the Effective Date, must be

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    The Reorganized Debtors in these cases, together with the last four digits of each Reorganized Debtor’s taxpayer
    identification number, are: The Container Store Group, Inc. (5401); The Container Store, Inc. (6981); C Studio
    Manufacturing Inc. (4763); C Studio Manufacturing LLC (5770); and TCS Gift Card Services, LLC (7975). The
    Reorganized Debtors’ mailing address is 500 Freeport Parkway, Coppell, TX 75019.
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    Capitalized terms used but not otherwise defined herein have the meanings given to them in the Combined Order
    or the First Amended Prepackaged Joint Plan of Reorganization of The Container Store Group, Inc. and Its
    Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No. 165] (as may be amended, supplemented,
    or otherwise modified from time to time, the “Plan”), as applicable. The rules of interpretation set forth in Article
    I.B of the Plan shall apply hereto. For the avoidance of doubt, unless otherwise specified, all references herein to
    “Articles” refer to articles of the Plan.
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filed with the Bankruptcy Court and served on the Reorganized Debtors no later than February
27, 2025, which is the date that is thirty (30) days after the Effective Date.

        If the Debtors’ rejection of an Executory Contract or Unexpired Lease pursuant to the Plan
gives rise to a Claim against the Debtors by the non-Debtor party or parties to such contract or
lease, such Claims shall be forever barred and shall not be enforceable against the Debtors, their
respective Estates, or the Reorganized Debtors unless a proof of Claim is filed with the Court and
served upon the Debtors or the Reorganized Debtors, and their respective counsel, no later than
February 24, 2025, which is the first Business Day following the date that is thirty (30) days after
the date of entry of the Combined Order.

        Pursuant to Article XII.Q, any Entity that desires to receive notices or other documents
after the Effective Date must, pursuant to Bankruptcy Rule 2002, file a renewed request to receive
such notices and documents with the Court to be added to the post-Confirmation service list.
Entities not on such post-Confirmation service list may not receive notices or other documents
filed in the Chapter 11 Cases after the Effective Date. An Entity who provides an e-mail address
may be served only by e-mail after the Effective Date.

        The Plan (including the Plan Supplement), the Combined Order, and all other documents
publicly filed in the Chapter 11 Cases, as well as additional information about the Chapter 11
Cases, can be accessed free of charge by visiting the Reorganized Debtors’ Website located at
https://www.veritaglobal.net/thecontainerstore. If you have any questions about this notice or any
documents or materials that you received, please contact the Claims and Noticing Agent, Kurtzman
Carson       Consultants,     LLC        d/b/a      Verita      Global,     via      email       at
https://www.veritaglobal.net/thecontainerstore/inquiry or via telephone at (888) 251-3046 (U.S.
and Canada) or (310) 751-2615 (International). The Claims and Noticing Agent cannot and will
not provide legal advice.




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Dated: January 28, 2025     BY ORDER OF THE COURT
       Houston, Texas
                             HUNTON ANDREWS KURTH LLP
                             Timothy A. (“Tad”) Davidson II (Texas Bar No. 24012503)
                             Ashley L. Harper (Texas Bar No. 24065272)
                             Philip M. Guffy (Texas Bar No. 24113705)
                             600 Travis Street, Suite 4200
                             Houston, TX 77002
                             Telephone: (713) 220-4200
                             Email: taddavidson@HuntonAK.com
                                     ashleyharper@HuntonAK.com
                                     pguffy@HuntonAK.com

                             - and -

                             LATHAM & WATKINS LLP
                             George A. Davis (NY Bar No. 2401214)
                             Hugh Murtagh (NY Bar No. 5002498)
                             Tianjiao (TJ) Li (NY Bar No. 5689567)
                             Jonathan J. Weichselbaum (NY Bar No. 5676143)
                             1271 Avenue of the Americas
                             New York, NY 10020
                             Telephone: (212) 906-1200
                             Email: george.davis@lw.com
                                     hugh.murtagh@lw.com
                                     tj.li@lw.com
                                     jon.weichselbaum@lw.com

                             Ted A. Dillman (CA Bar No. 258499)
                             355 South Grand Avenue, Suite 100
                             Los Angeles, CA 90071
                             Telephone: (213) 485-1234
                             Email: ted.dillman@lw.com

                             Co-Counsel for the Debtors
                             and Debtors in Possession




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